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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 ANDREW SMITH, ET AL.,

               Plaintiffs,                          No. 10-11490

 v.                                                 District Judge Victoria A. Roberts
                                                    Magistrate Judge R. Steven Whalen

 COMPUTERTRAINING.COM, INC.,
 ET AL.,

               Defendants.
                                          /

                                 OPINION AND ORDER

        For the reasons discussed below, Plaintiffs’ Motion to Overrule Garnishee

 Hartford Casualty Insurance Company’s Objections to Subpoena for Production of

 Documents and to Compel Production Thereof [Doc. #202] is GRANTED, under the

 terms set forth below.

                                   I.   BACKGROUND

        This case originated as a class action seeking damages on behalf of Plaintiffs who

 enrolled in computer training programs offered by the Defendants. The complaint alleged

 that after collecting “millions of dollars in tuition from Plaintiffs,” the Defendant schools

 abruptly closed in December of 2009, leaving the Plaintiffs high and dry. The Plaintiffs

 brought claims of negligence (Count I), breach of fiduciary duty (Count II), negligent


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 misrepresentation (Count III), innocent misrepresentation (Count IV), promissory

 estoppel (Count V), unjust enrichment/breach of quasi-contract (Count VI), equitable

 estoppel (Count VII), breach of contract (Count VIII), fraud (Count IX), civil conspiracy

 (Count X), and concert of action (Count XI). See Third Amended Class Action Complaint

 [Doc. #53]. On April 15, 2011, the Clerk of the Court entered defaults as to Defendant

 schools, and on November 22, 2011, the Court granted Plaintiffs motion for default

 judgment, determining the total tuition portion of the judgment to be

 $113,947,255.00,excluding interest [Doc. #154].

        During the post-judgment proceedings, Plaintiffs learned that certain insurance

 companies, including Hartford Casualty Insurance Company (“Hartford”)1, provided a

 general liability policy to the ComputerTraining.com Defendants. Plaintiffs then served

 writs of garnishment and document subpoenas on Hartford, which objected to the

 document requests.

        In their subpoena, the Plaintiffs requested production of 26 categories of

 documents, including policies, notices, correspondence, reports, and other material, all

 related to the ComputerTraining.com Defendants and/or the present lawsuit, the

 complaint, and notices of the lawsuit. The Plaintiffs also requested files on the



        1
         The four insurance companies that received subpoenas were Hartford, the
 Continental Casualty Company, the Houston Casualty Company, and Insurance
 Incorporated. In terms of the documents that Plaintiffs requested, the subpoenas are
 substantially identical.

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 Defendants as to claims and matters other than this lawsuit. Hartford objected to all

 categories.

        On August 27, 2014, the Court entered an order granting Plaintiffs’ motion to

 overrule Continental Casualty Company’s (“CCC’s”) objections to its subpoena [Doc.

 #210], as well as a stipulated order resolving a number of discovery issues between

 Plaintiffs and CCC [Doc. #209].

                                II.   LEGAL PRINCIPLES

        It is well established that “the scope of discovery is within the sound discretion of

 the trial court.” Lavado v. Keohane, 992 F.2d 601, 604 (6th Cir. 1993); Chrysler Corp. v.

 Fedders Corp., 643 F.2d 1229, 1240 (6th Cir. 1981). In exercising its discretion, the court

 should first consider Fed.R.Civ.P. 26(b)(1), which states, in pertinent part:

        “Parties may obtain discovery regarding any matter, not privileged, that is
        relevant to the claim or defense of any party...For good cause, the court may
        order discovery of any matter relevant to the subject matter involved in the
        action...All discovery is subject to the limitations imposed by Rule
        26(b)(2)(i), (ii), and (iii).” (Emphasis added).

        The same principles apply when discovery is sought from a non-party under Rule

 45. “A subpoena issued under Rule 45 is ‘subject to the general relevancy standard

 applicable to discovery under [Rule 26(b)(1) ].’” Vamplew v. Wayne State University Bd.

 of Governors, 2013 WL 3188879, *2 (E.D.Mich. 2013)(Cohn, J.)(quoting Syposs v.

 U.S.A., 181 F.R.D. 224, 226 (W.D.N.Y.1998)).




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                                    III.   DISCUSSION

        The bulk of Harford’s objections are based on relevance. In its response to this

 motion [Doc. #203], Hartford asserts that “[t]here is absolutely no possible nexus between

 Plaintiffs’ claim for coverage and the Hartford policies at issue,” arguing that “the last of

 the Hartford policies expired October 2006, more than three years prior to the time any

 party could have possibly suffered any loss of tuition or other economic injury.” Id. at 1.

 Hartford also states that the subpoena at issue was the first notice it received of the

 underlying action and default judgment against Defendants. Id. Notwithstanding its

 objections, Hartford agrees to produce the Computertraining.com policies, subject to a

 protective order.

        While the Plaintiffs’ Reply Brief [Doc. #204] compares Hartford’s resistance to

 discovery to both Watergate and the Battle of Thermopylae, it does offer the following

 less hyperbolic reply to Hartford’s claim that the subpoena was its first notice of this

 matter:

        “If the first notice of the claims were this subpoena, then, no problem, there
        will be no documents that exist and the procedure worked out with the other
        insurers to furnish Affidavits followed by Depositions to sort out and to test
        such nonexistence would be the easiest way to resolve the matter.” Id. at 6.

        I agree. While Hartford is not bound by my previous orders resolving the discovery

 dispute between Plaintiffs and CCC, those orders provide a reasonable template for

 efficiently and fairly governing the disclosure of relevant insurance information. If

 policies, loss run information, reinsurance documents, or other information as to

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 Computertraining.com exists, Plaintiffs are entitled to disclosure. As I stated in a

 previous order [Doc. #210]:

        “The Plaintiffs have a judgment against the ComputerTraining.com
        Defendants in excess of $113,000,000. CCC insured those Defendants, who
        may or may not be collectible themselves. While the requested information
        as to claims or documents not directly involving this lawsuit may or may
        not be directly relevant, it is at least likely to lead to the discovery of
        relevant and admissible evidence, including the financial status of the
        Defendants. CCC’s objections as to this material are overruled, and the
        requested documents shall be produced.”

        Accordingly, Plaintiff’s motion will be granted under the following terms.

                                     A.   Protective Order

        Hartford has agreed to produce its insurance polices issued to the

 Computertraining.com Defendants, but only if a protective order is in place. In my

 Opinion and Order as to CCC’ objections [Doc. #210], I stated:

        “The Court’s January 21, 2011 protective order is specifically directed at
        financial information, personal identifying information, ‘or trade secrets or
        other confidential information.’ While phrased in general terms, it would
        clearly allow CCC to assert confidentiality as to transcripts, deposition
        testimony, or other material that would be deemed financial or trade secret
        information. The existing order is both comprehensive and elegant in its
        simplicity, and I see no reason to substitute CCC’s more densely worded
        alternative.”

        Likewise, I find here that the Court’s January 21, 2011 protective order sufficiently

 protects Hartford’s confidentiality interests. Hartford will therefore produce the policies,

 subject to that protective order.




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                                     B.     Privilege Log

        Fed.R.Civ.P. 26(b)(5)(A) requires the filing of a privilege log as follows:

        “(5) Claiming Privilege or Protecting Trial-Preparation Materials.
        (A) Information Withheld. When a party withholds information otherwise
        discoverable by claiming that the information is privileged or subject to
        protection as trial-preparation material, the party must:

        (i) expressly make the claim; and

        (ii) describe the nature of the documents, communications, or tangible
        things not produced or disclosed--and do so in a manner that, without
        revealing information itself privileged or protected, will enable other parties
        to assess the claim.”

        “A privilege log must contain the basis for withholding discovery of the document

 and sufficient detail beyond conclusory allegations to demonstrate the fulfillment of the

 legal requirements for application of the privilege.” Hi-Lex Controls Inc. v. Blue Cross

 and Blue Shield of Michigan, 2013 WL 1303622, *3 (E.D.Mich. 2013)(Roberts, J.).

        Hartford must therefore provide a sufficiently detailed privilege log as to any

 documents as to which it claims privilege.

                              C.   Other Document Requests

        Consistent with the order entered on August 27, 2014 with regard to CCC [Doc.

 #209], Hartford will comply with the following procedure:

        1. In addition to producing all Computertraining.com policies, Hartford shall,

 within 30 days of the date of this Order, produce an affidavit under oath, signed and

 sworn to by a Corporate Representative designated by Hartford, as to the completeness,

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 scope, breadth, and extent of Hartford and its employees and agents in its and their search

 efforts for all policy and endorsement materials.

        2. If deemed further necessary by counsel for Plaintiffs, Hartford shall, within 45

 days of the date of this Order, designate a Corporate Representative to testify on sworn

 deposition as to the accuracy, completeness, and availability or unavailability of and

 documents found and produced (including loss run documents and underwriters’ files) or

 documents not produced or not located so as to examine the accuracy and completeness

 of all the searches performed by Hartford in the production of these subpoenaed

 documents, as well as to confirm the unavailability of all documents not produced.

        3. Within 90 days after the entry of this Order, the person(s) designated by

 Hartford to testify, if requested by Plaintiffs, shall be deposed under oath as to these

 matters as to the breadth and scope of all searches and the results thereof as to the

 availability or unavailability of subpoenaed documents found, produced, or, if not

 produced, those which remain unavailable or incapable of being located. However, there

 shall be no deposition testimony as to matters of insurance coverage or substantive policy

 liabilities of Hartford as insurer under these policies by this witness or witnesses.

        4. Hartford shall produce any existent underwriting files and loss run documents

 that have been retrieved through Hartford’s search for documents responding to

 Plaintiff’s subpoena requests A to Z, under the Court’s January 21, 2011 protective order

 [Doc. #44].


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        5. Within 30 days of the date of this Order, Hartford shall produce all requested

 information as to any reinsurance policies with respect to Computertraining.com. If

 Hartford did not contract for or otherwise purchase or obtain such reinsurance policies,

 Hartford shall, within 30 days of the date of this Order, furnish an affidavit by a

 Corporate Representative designated by Hartford as to whether such reinsurance

 documents do not exist. Such corporate representative(s) shall be designated and made

 available for deposition as set forth in ¶¶ 2-3, supra. However, there shall be no

 deposition testimony as to matters of any insurance coverage or substantive policy

 liabilities of Hartford as insurer under these policies by this witness or witnesses.

        IT IS SO ORDERED.


 Dated: September 26, 2014                  s/R. Steven Whalen
                                            R. STEVEN WHALEN
                                            UNITED STATES MAGISTRATE JUDGE


 I hereby certify that a copy of the foregoing document was sent to parties of record
 on September 26, 2014, electronically and/or by U.S. Mail.

                                            s/Carolyn Ciesla
                                            Case Manager for the
                                            Honorable R. Steven Whalen




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